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                               UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                                      CIVIL ACTION NO.

VERSUS                                                                20-92-BAJ-EWD

REC MARINE LOGISTICS, LLC,
ET AL.


                  TELEPHONE STATUS CONFERENCE REPORT AND ORDER

           A telephone conference was held before Magistrate Judge Erin Wilder-Doomes on May

14, 2020 as a follow-up to the April 16, 2020 telephone conference, with the following participants:

           PRESENT:      Daniel Sheppard                       Fred E. Salley
                         John Sheppard                         Counsel for Defendants,
                         Counsel for Plaintiff,                REC Marine Logistics, LLC
                         McArthur Griffin                      GOL, LLC, Gulf Offshore Logistics,
                                                               LLC and Offshore Transport
                         Alan R. Davis                         Services, LLC
                         Counsel for Defendant,
                         QBE Insurance (Europe) Limited

           The Court inquired into the status of the parties’ discussions regarding resolution of the

issues raised with respect to the Court’s subject matter jurisdiction previously discussed during the

parties’ April 16, 2020 conference call with the Court. 1 Counsel for McArthur Griffin (“Plaintiff”)

advised that they have reviewed the insurance policy containing the arbitration clause that forms

the basis for removal and have propounded formal discovery to Defendant QBE Insurance

(Europe) Limited (“QBE”) seeking information regarding whether there is an insurance coverage

dispute between QBE and its insured, Defendant REC Marine Logistics, LLC (“REC Marine”),

which is one of the types of disputes that would trigger arbitration per the insurance policy.

Counsel for QBE advised that he has referred Plaintiff’s discovery requests to his client for

response and the requests are under review. Counsel for QBE is not coverage counsel and cannot


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    See R. Doc. 13.

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provide an opinion on coverage issues, however, QBE contends that whether there is a coverage

dispute between QBE and REC Marine has no bearing on the issue of subject matter jurisdiction

because Plaintiff subjected himself to the terms of the insurance policy by suing QBE directly. As

QBE disputes Plaintiff’s claims, it is QBE’s position that the arbitration clause is triggered. As

the issue of subject matter jurisdiction remains unresolved, a follow-up telephone call shall be

scheduled for June 19, 2020 at 10:30 a.m. to resume discussions. This will afford Plaintiff an

opportunity to review QBE’s discovery responses. 2

        A review of the docket reflects that some of the other issues raised at the previous telephone

conference have been resolved, 3 i.e., the filing of answers by Defendants GOL, LLC, Gulf

Offshore Logistics, LLC, and Offshore Transport Services, LLC, 4 as well as the filing of a Notice

of Voluntary Dismissal of Defendant American Steamship Owners Mutual Protection and

Indemnification Association. 5 However, Plaintiff advised that he still has not received Fed. R.

Civ. P. 26 disclosures by some of the Defendants. Counsel for REC Marine and GOL, LLC, Gulf

Offshore Logistics, LLC, and Offshore Transports Services, LLC advised that dispositive motions

will soon be filed seeking dismissal of two of the Defendants 6 who have not provided initial

disclosures, but the remaining Defendants will respond. The Court advised the parties that a stay

of discovery must be sought by an appropriate motion, and absent a challenge to jurisdiction,

discovery is not typically stayed by the filing of a dispositive motion.

        Accordingly,




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  Issues of subject matter jurisdiction will be resolved before action is taken on any additional motions, including
Plaintiff’s recently-filed Motion to Enforce Judgment, Motion to Compel, and Motion for Sanctions against
Defendants. R. Doc. 15.
3
  See R. Doc. 13, p. 2.
4
  R. Doc. 14.
5
  R. Doc. 16.
6
  These parties were not identified during the conference, but Defendants’ Answer and affirmative defenses suggest
that the Defendants who will seek summary dismissal are GOL, LLC and Gulf Offshore Logistics, LLC. R. Doc. 14,
p. 1.


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       IT IS ORDERED that a telephone conference is set for June 19, 2020 at 10:30 a.m.

before the undersigned. Counsel participating in the telephone conference shall call 877-336-1839

using access code 9565780 five minutes prior to conference.

       Signed in Baton Rouge, Louisiana, on May 14, 2020.


                                            S
                                            ERIN WILDER-DOOMES
                                            UNITED STATES MAGISTRATE JUDGE




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